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                IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

 CASEY ROBINSON,

                        Plaintiff,

 v.                                                    Civil Action No.: 2:18-cv-00896

 METROPOLITAN LIFE INSURANCE COMPANY,

                        Defendant.



                                     DISMISSAL ORDER

                Upon the joint motion of Plaintiff Casey Robinson, by his counsel, and

 Defendant Metropolitan Life Insurance Company, by its counsel, and for good cause

 shown, it is hereby ORDERED that the above matter is dismissed with prejudice, with

 each side to bear its own costs.

                                        ENTER: December 12, 2018




 AGREED TO BY:



 /s/ John J. Polak                            /s/ Matthew O. Gatewood
 John J. Polak (WVSB # 2929)                  Matthew O. Gatewood (WVSB # 10044)
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 Counsel for Plaintiff                        Counsel for Defendant
